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Daniel R Perlman SBN 236278

1601 Vine Street, Hollywood, CA 90028
310-557-1700
daniel@danielperlmanlaw.com

Attorney for Daniel Stonebarger

UNITED STATES DISTRICT COURT

DISTRICT OF COLORADO
UNITED STATES OF AMERICA, ) NO.: 1:21-cr-00392-RM-001
)
Plaintiff, ) REQUEST AND [PROPOSED] ORDER TO
) APPEAR VIA VIDEO (VTS)
Vv. )
)
DANIEL STONEBARGER )
)
Defendant. )
)

Counsel for the defense, Daniel Stonebarger requests the court’s leave to appear via video for the
first appearance on December 2, 2021 and until otherwise directed by the court. I am based on Los
Angeles and at least for this first appearance, travel to Denver is not possible. I would secondarily
request this apply to my client, Mr. Stonebarger as well, but due to health concerns rather than
geography. Mr. Stonebarger is undergoing major dental surgery today (12/1/2021) and would be ill
equipped to appear in person tomorrow morning. The United States is aware of the defense intent to

request appearance by video and has not raised any objections.

IT IS SO STIPULATED.

DATED: December 1, 2021 Respectfully submitted,

DANIEL R- PERL
Counsel for Defendant Daniel Stonebarger

